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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Criminal No. 21-cr-40-TNM
                                              :
PATRICK MCCAUGHEY, et al.                     :
                                              :
                       Defendant.             :       Status Hearing: March 4, 2022



                             PRE-TRIAL SCHEDULING ORDER

       The United States of America has proposed a pretrial schedule to govern severance and
other Rule 12 motion deadlines in advance of the two trial dates scheduled in this case. The United
States has consulted with counsel for each defendant and defendants McCaughey, Stevens,
Judd, Morss, Sills, Quaglin, Klein, and Cappuccio consent to the imposition of this order.
Counsel for defendant Mehaffie opposes the dates proposed in this order.

        As previously ordered, trial for “Group 1” (including defendants McCaughey, Stevens,
Morss, and Mehaffie) is scheduled to begin on August 29, 2022, and trial for “Group 2”
(including defendants Judd, Quaglin, Sills, Cappuccio, and Klein), is scheduled to begin on
October 3, 2022. In view of the reasonableness of the proposed deadlines, the preference to
efficiently use judicial resources in resolving motions, and the necessity of addressing pretrial
issues in a timely and orderly fashion so as to give each party sufficient time to prepare for trial,
the Court hereby sets for the following scheduling order:

       Severance Motions and Responses

       On January 25, 2022, defendant Judd filed a motion seeking to sever his trial from that of
his codefendants, arguing that his trial is improperly joined with that of his codefendants and that
his substantive rights would be violated should he be required to go to trial with his
codefendants. (ECF No. 207). Similarly, on January 26, 2022, defendant Cappuccio filed a
motion to sever his trial from that of his codefendants, arguing that he would be prejudiced in his
defense should he be required to go to trial with his codefendants. (ECF No. 206).

        On February 4, 2022, the Court ordered that the motions would be held in abeyance
pending a pre-trial scheduling order. In view of the possibility that additional defendants may
seek to sever their trials from that of one or more of their codefendants, the court hereby
ORDERS:

       Any defendant seeking to sever his trial from that of any other codefendant must file a
motion seeking severance no later than March 25, 2022. The government must file a response
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to any motions to sever defendants at trial no later than April 22, 2022. Replies are due by May
6, 2022.


       Additional Motions Pursuant to Rule 12 and Responses:

       The court further ORDERS that all other defense motions pursuant to Rule 12 of the
Federal Rules of Criminal Procedure must be filed no later than April 15, 2022. The
government’s responses to any Rule 12 motions filed by Group 1 defendants are due no later
than May 13, 2022. Replies by Group 1 defendants are due by May 27, 2022. The
government’s responses to any Rule 12 motions filed by Group 2 defendants are due May 27,
2022. Replies by Group 2 defendants are due by June 10, 2022.

       Other Motions, Expert Notice, and Responses:

       The Court will set deadlines for any remaining pre-trial motions and notices, as well as a
deadline for a Joint Pre-Trial Statement a later time.




SO ORDERED

                                                    The Honorable Trevor N. McFadden
                                                    United States District Judge
